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                                                                                                     United States Bankruptcy Court
                                                                                                          Southern District of Texas

                                                                                                             ENTERED
                                                                                                          February 14, 2024
                                UNITED STATES BANKRUPTCY COURT                                            Nathan Ochsner, Clerk
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION
                                       §
In re:                                 § Chapter 7
                                       § (Previously Chapter 11)
SMILEDIRECTCLUB, INC., et al.          §
                                       § Case No. 23-90786 (CML)
           Debtors.                    §
                                       § (Jointly Administered)
                                       §
    ORDER ESTABLISHING BAR DATE FOR CHAPTER 11 ADMINISTRATIVE
               EXPENSE CLAIMS AND PROFESSIONAL FEES
                              (Docket No. 650)

           Upon the Trustee’s motion (the “Motion”)1 for entry of an order stablishing bar dates for

chapter 11 administrative claims and professional fees; and this Court having jurisdiction over this

matter pursuant to 28 U.S.C. § 1334; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b); and that this Court may enter a final order consistent with Article

III of the United States Constitution; and this Court having found that venue of this proceeding

and the Motion in this district is proper pursuant to 28 U.S.C. § 1408; and this Court having found

that the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors,

and other parties in interest; and this Court having found that the Debtors’ notice of the Motion

and the opportunity for a hearing on the Motion were appropriate and no further notice need be

provided; and this Court having reviewed the Motion and having heard the statements in support

of the relief requested therein at a hearing before this Court, if any; and this Court having

determined that the legal and factual bases set forth in the Motion and at the hearing, if any,

establish just cause for the relief granted herein; and upon all of the proceedings had before this




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    All capitalized terms not defined in this Order shall have the meaning given to them in the Motion.


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Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

        1.      March 15, 2024 (the “Professional Fees Bar Date”) is the deadline for professionals

retained by the Debtors or the Committee under sections 327, 328, or 1103(a) of the Bankruptcy

Code or pursuant to the OCP Order to file motions seeking approval of professional fees permitted

under the DIP Carve Out alleged to have been incurred during the time period between the petition

date (September 29, 2023) and the date this case was converted to chapter 7 (January 26, 2024)

(the “Professional Fees”).

        2.      May 15, 2024 (the “Professional Fees Objection Deadline”) is the deadline by

which the Trustee or any other party in interest must object to Professional Fee Claims, which

Professional Fees Objection Deadline may be subject to extension by approval of this Court.

        3.      The Professional Fees Objection Deadline shall apply to all applications for

Professional Fee Claims regardless of when such applications were filed, including those filed

prior to entry of this Order.

        4.      March 15, 2024 (the “Administrative Claim Bar Date”) is the deadline for any

party-in-interest to file an application seeking approval of an administrative expense pursuant to

11 U.S.C. § 503(b) for any amounts alleged to have been incurred during the time period between

the petition date (September 29, 2023) and the date this case was converted to chapter 7 (January

26, 2024).

        5.      The deadline for the Trustee or any other party in interest to file an objection to any

application for Administrative Claim shall be tolled pending further order of this Court, including

for all applications for Administrative Claims filed prior to entry of this Order.




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         6.      Any holder of an Administrative Expense Claim or Professional Fees Claim who

fails to file an application for approval of such claim with the Court by the applicable bar date shall

be barred, estopped, and enjoined from asserting such claim.

         7.      Notwithstanding any contrary provision of this order, no governmental unit shall

be required to file a request for the payment of an expense described in 11 U.S.C. 503(b)(1)(B) or

(C) as a condition of its being an allowed administrative expense.

         8.      The Trustee shall serve this Order on all known creditors and parties in interest who

may assert Professional Fees Claims or Administrative Claims.


Dated:                          , 2024.
              August 02,
              February 14, 2019
                           2024

                                               HONORABLE CHRISTOPHER M. LOPEZ
                                               UNITED STATES BANKRUPTCY JUDGE




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